Case 4:21-cv-02155-YGR   Document 291-1   Filed 08/15/22   Page 1 of 22




                  EXHIBIT A
Case 4:21-cv-02155-YGR   Document 291-1   Filed 08/15/22   Page 2 of 22




         REQUESTS FOR PRODUCTION
                 NOS. 46 - 49, 51, 54 - 56
                         Case 4:21-cv-02155-YGR        Document 291-1   Filed 08/15/22   Page 3 of 22


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                 15
                                                     UNITED STATES DISTRICT COURT
                 16
                                                    NORTHERN DISTRICT OF CALIFORNIA
                 17
                                                              SAN JOSE DIVISION
                 18
                 19
                 20       In re Google RTB Consumer Privacy              Case No. 21-cv-02155-YGR
                          Litigation,
                 21                                                      GOOGLE LLC’S OBJECTIONS AND
                 22                                                      RESPONSES TO PLAINTIFFS ’ THIRD SET OF
                                                                         REQUESTS FOR PRODUCTION OF
                 23                                                      DOCUMENTS
                          This Document Relates to: all actions
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  SAN FRANCISCO                                                                   GOOGLE ’S RESPONSES TO PLAINTIFFS ’
                                                                                                 THIRD SET OF RFPS
                                                                                          CASE NO. 21-CV-02155-YGR
                         Case 4:21-cv-02155-YGR          Document 291-1           Filed 08/15/22    Page 4 of 22



                     1    RESPONSE TO REQUEST FOR PRODUCTION NO. 45:
                     2           In addition to the foregoing General Objections, which Google incorporates by reference,
                     3    Google specifically objects that this Request is overly broad, seeks irrelevant information, is unduly
                     4    burdensome, and is not proportional to the needs of the case because the Request is not limited in
                     5    scope and encompasses aspects of RTB that have no relation to Plaintiffs’ central allegations
                     6    regarding the alleged disclosure of Plaintiffs’ and purported class members’ personal information
                     7    to third party participants utilizing RTB. Google further objects that this Request is cu mulative and
                     8    duplicative of other Requests, namely, Request for Production No. 2, and therefore seeks to harass
                     9    and delay the proceedings. Google further objects to this Request to the extent it seeks documents
                 10       protected by the attorney-client privilege or the work product doctrine, or any other privilege or
                 11       immunity, including without limitation because it may seek documents prepared by or at the
                 12       direction of legal counsel.
                 13              In addition, Google objects that the phrases “complaints,” “information conveyed,” and
                 14       “manner in which Google operates its Real Time Bidding” are vague and ambiguous because they
                 15       are not self-evident or defined.
                 16               Subject to the foregoing objections, Google agrees to produce, following a reasonable and
                 17       diligent search for responsive material, non-privileged documents reflecting Google Account
                 18       Holder complaints, if any, related to the alleged sharing of their personal and/or sensitive
                 19       information with third-party participants utilizing Google’s RTB.
                 20       REQUEST FOR PRODUCTION NO. 46:
                 21              All Documents reflecting estimates or other calculations of the monetary value of Account
                 22       Holders’ Information to Google, including updates in keeping with changes to Google’s terms of
                 23       service, including the calculation of revenue earned by Google for Account Holders based upon
                 24       bartering or selling access to such Information.
                 25       RESPONSE TO REQUEST FOR PRODUCTION NO. 46:
                 26              In addition to the foregoing General Objections, which Google incorporates by reference,
                 27       Google specifically objects that this Request is overly broad, unduly burdensome, and not
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  SAN FRANCISCO                                                                             GOOGLE ’S RESPONSES TO PLAINTIFFS ’
                                                                             13                            THIRD SET OF RFPS
                                                                                                    CASE NO. 21-CV-02155-YGR
                         Case 4:21-cv-02155-YGR           Document 291-1         Filed 08/15/22      Page 5 of 22



                     1    proportional to the needs of the case because the Request is not limited in scope and encompasses
                     2    voluminous materials that have no relation to Plaintiffs’ central allegations regarding the alleged
                     3    disclosure of Plaintiffs’ and purported class members’ personal information to third party
                     4    participants utilizing RTB. Google also objects that this Request is not limited to RTB, but instead
                     5    seeks broad discovery on such amorphous topics as the “value of Account Holders’ information to
                     6    Google.” Google further objects that this Request is premature because it seeks information that
                     7    is not relevant or germane to the issues to be litigated at class certification . Google further objects
                     8    that this Request for “All Documents” reflecting the referenced subject matter is overbroad.
                     9    Google additionally objects to this Request as overbroad to the extent it is not limited to formal
                 10       evaluations regarding the referenced subject matter. Google additionally objects that the phrase
                 11       “including updates in keeping with changes to Google’s terms of service” is vague, ambiguous, and
                 12       unintelligible within the context of this Request. Google also objects to this Request to the extent
                 13       that it seeks the disclosure of documents containing trade secret or other confidential research,
                 14       development, or commercially sensitive information. Google further objects to this Request to the
                 15       extent it seeks information protected by the attorney-client privilege, the attorney work-product
                 16       doctrine, or any other applicable privilege or protection, including without limitation because it
                 17       may seek documents prepared by or at the direction of legal counsel. Google additionally objects
                 18       that this Request is cumulative and duplicative of other Requests, namely, Request for Production
                 19       No. 34, and therefore seeks to harass and delay the proceedings.
                 20              In addition, Google objects that the phrases “revenue earned by Google for Account
                 21       Holders” and “bartering or selling access to such Information” are vague and ambiguous because
                 22       they are not self-evident or defined. Google further objects that Plaintiffs’ definition of “Account
                 23       Holders’ Information” makes this Request unduly burdensome and overly broad.
                 24              Subject to the foregoing objections, Google is willing to meet and confer with Plaintiffs
                 25       about this Request.
                 26       REQUEST FOR PRODUCTION NO. 47:
                 27              Documents sufficient to establish the monetary and/or retail value of Account Holders’
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                                                                            14                              THIRD SET OF RFPS
                                                                                                     CASE NO. 21-CV-02155-YGR
                         Case 4:21-cv-02155-YGR           Document 291-1         Filed 08/15/22      Page 6 of 22



                     1    Information to Google, including all monthly, quarterly, and annual financial reporting relating to
                     2    same, and including but not limited to the calculation of average rev enue per user, any changes to
                     3    such monetary or retail value relating to changes to Google’s terms of service, and any financial
                     4    reporting of Information as an asset.
                     5    RESPONSE TO REQUEST FOR PRODUCTION NO. 47:
                     6           In addition to the foregoing General Objections, which Google incorporates by reference,
                     7    Google specifically objects that this Request is overly broad, unduly burdensome, and not
                     8    proportional to the needs of the case because the Request is not limited in scope and encompasses
                     9    voluminous materials that have no relation to Plaintiffs’ central allegations regarding the alleged
                 10       disclosure of Plaintiffs’ and purported class members’ personal information to third party
                 11       participants utilizing RTB. Google objects to this Request to the extent that it seeks the disclosure
                 12       of documents containing trade secret or other confidential research, development, or commercially
                 13       sensitive information. Google further objects to this Request to the extent it seeks information
                 14       protected by the attorney-client privilege, the attorney work-product doctrine, or any other
                 15       applicable privilege or protection, including without limitation because it may seek documents
                 16       prepared by or at the direction of legal counsel. Google also objects that this Request is not limited
                 17       to RTB, and instead seeks broad discovery concerning the “retail or monetary value” of “Account
                 18       Holders’ Information,” “changes to Google’s terms of service” and “any financial reporting of
                 19       Information as an asset.” Google further objects that this Request is improperly compound and
                 20       contains multiple subparts. Google additionally objects that this entire Request is unintelligible,
                 21       vague and ambiguous. Google further objects that this Request is premature because it seeks
                 22       information that is not relevant or germane to the issues to be litigated at class certification. Google
                 23       additionally objects that this Request is cumulative and duplicative of other Requests, namely,
                 24       Request for Production No. 34, and therefore seeks to harass and delay the proceedings.
                 25              In addition, Google objects that the phrases “value of Account Holders’ Information,”
                 26       “value relating to changes to Google’s terms of service” and “Information as an asset” are vague
                 27       and ambiguous because they are not self-evident or defined. Google further objects that Plaintiffs’
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  SAN FRANCISCO                                                                              GOOGLE ’S RESPONSES TO PLAINTIFFS ’
                                                                            15                              THIRD SET OF RFPS
                                                                                                     CASE NO. 21-CV-02155-YGR
                         Case 4:21-cv-02155-YGR          Document 291-1         Filed 08/15/22      Page 7 of 22



                     1    definition of “Account Holders’ Information” makes this Request unduly burdensome and overly
                     2    broad.
                     3             Subject to the foregoing objections, Google is willing to meet and confer with Plaintiffs
                     4    about this Request.
                     5    REQUEST FOR PRODUCTION NO. 48:
                     6             All Documents relating to Google’s assessment of the monetary and/or retail value of
                     7    Account Holders’ Information to Account Holders (as distinct from value to Google), including
                     8    analyses for providing compensation to Account Holders for their Content and Information,
                     9    including but not limited to Account Holders compensated in connection with Google “Screenwise
                 10       Trends, “Cross Media Panel,” or any Google offer to compensate users for data collection and/or
                 11       use.
                 12       RESPONSE TO REQUEST FOR PRODUCTION NO. 48:
                 13                In addition to the foregoing General Objections, which Google incorporates by reference,
                 14       Google specifically objects that this Request is overly broad, unduly burdensome, and not
                 15       proportional to the needs of the case because the Request is not limited in scope and encompasses
                 16       voluminous materials that have no relation to Plaintiffs’ central allegations regarding the alleged
                 17       disclosure of Plaintiffs’ and purported class members’ personal information to third party
                 18       participants utilizing RTB. Google objects to this Request to the extent that it seeks the disclosure
                 19       of documents containing trade secret or other confidential research, development, or commercially
                 20       sensitive information. Google further objects to this Request to the extent it seeks information
                 21       protected by the attorney-client privilege, the attorney work-product doctrine, or any other
                 22       applicable privilege or protection, including without limitation because it may seek documents
                 23       prepared by or at the direction of legal counsel. Google also objects that this Request is not limited
                 24       to RTB, and instead seeks voluminous discovery concerning products that are not even at issue in
                 25       this case. Google additionally objects that this entire Request is unintelligible, vague and
                 26       ambiguous. Google further objects that this Request is premature because it seeks information that
                 27       is not relevant or germane to the issues to be litigated at class certification Google further objects
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  SAN FRANCISCO                                                                             GOOGLE ’S RESPONSES TO PLAINTIFFS ’
                                                                           16                              THIRD SET OF RFPS
                                                                                                    CASE NO. 21-CV-02155-YGR
                         Case 4:21-cv-02155-YGR          Document 291-1         Filed 08/15/22     Page 8 of 22



                     1    that this Request for “All Documents” related to the referenced subject matter is overbroad. Google
                     2    additionally objects to this Request to the extent it requires Google to produce documents not in its
                     3    possession, custody or control. Google additionally objects that this Request is cumulative and
                     4    duplicative of other Requests, namely, Request for Production No. 34, and therefore seeks to harass
                     5    and delay the proceedings.
                     6           Google further objects that the phrases “Screenwise Trends,” and “Cross Media Panel,” and
                     7    the terms “value of Account Holders’ Information” and “compensation to Account Holders for their
                     8    Content and Information” are vague and ambiguous because they are not self -evident or defined.
                     9    Google further objects that Plaintiffs’ definition of “Account Holders’ Information” makes this
                 10       Request unduly burdensome and overly broad.
                 11              Google has not conducted and will not conduct searches for responsive documents, and, as
                 12       a result, will not produce documents in response to this Request.
                 13       REQUEST FOR PRODUCTION NO. 49:
                 14              Documents sufficient to show when Google launched the “Google Screenwise Trends”
                 15       program, how such program operates, amounts paid to participants in the Google Screenwise
                 16       Trends program, and the value of the data received through the Google Screenwise Trends program.
                 17       RESPONSE TO REQUEST FOR PRODUCTION NO. 49:
                 18              In addition to the foregoing General Objections, which Google incorporates by reference,
                 19       Google specifically objects that this Request is overly broad, unduly burdensome, and not
                 20       proportional to the needs of the case because the Request is not limited in scope and encompasses
                 21       voluminous materials that have no relation to Plaintiffs’ central allegations regarding the alleged
                 22       disclosure of Plaintiffs’ and purported class members’ personal information to third party
                 23       participants utilizing RTB, including but not limited to “Google Screenwise Trends.” Google
                 24       further objects to this Request on the basis that it is compound. Google also objects that this
                 25       Request is not limited to RTB, and instead concerns a product that is not even at issue in this case.
                 26               In addition, Google objects that the term “Screenwise Trends” and the phrases “how such
                 27       program operates,” “amounts paid to participants” and “value of the data received through” are
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  SAN FRANCISCO                                                                            GOOGLE ’S RESPONSES TO PLAINTIFFS ’
                                                                           17                             THIRD SET OF RFPS
                                                                                                   CASE NO. 21-CV-02155-YGR
                         Case 4:21-cv-02155-YGR          Document 291-1        Filed 08/15/22      Page 9 of 22



                     1    vague and ambiguous because they are not self-evident or defined.
                     2           Google also objects and states that this Request is not the most appropriate vehicle of
                     3    discovery for Plaintiffs to obtain the information requested.
                     4           Subject to the foregoing objections, Google has not conducted and will not conduct searches
                     5    for responsive documents, and, as a result, will not produce documents in response to this Request.
                     6    REQUEST FOR PRODUCTION NO. 50:
                     7           Documents sufficient to establish the economic value, in currency or any other thing of
                     8    value, paid in exchange for targeted advertising that Google received in exchange for each Named
                     9    Plaintiff’s Information, as well as which entities paid Google and when such payments were made.
                 10       RESPONSE TO REQUEST FOR PRODUCTION NO. 50:
                 11              In addition to the foregoing General Objections, which Google incorporates by reference,
                 12       Google specifically objects that this Request is overly broad, unduly bu rdensome, and not
                 13       proportional to the needs of the case because the Request is not limited in scope and encompasses
                 14       voluminous materials that have no relation to Plaintiffs’ central allegations regarding the alleged
                 15       disclosure of Plaintiffs’ and purported class members’ personal information to third party
                 16       participants utilizing RTB. Google also objects that this Request is not limited to RTB. Google
                 17       further objects that this Request is premature because it seeks information that is not relevant or
                 18       germane to the issues to be litigated at class certification. Google objects to this Request to the
                 19       extent that it seeks the disclosure of documents containing trade secret or other confidential
                 20       research, development, or commercially sensitive information. Google further objects to this
                 21       Request to the extent it seeks information protected by the attorney -client privilege, the attorney
                 22       work-product doctrine, or any other applicable privilege or protection, including without limitation
                 23       because it may seek documents prepared by or at the direction of legal counsel. Google additionally
                 24       objects that this Request is cumulative and duplicative of other Requests, namely, Request for
                 25       Production No. 34, and therefore seeks to harass and delay the proceedings.
                 26              In addition, Google objects that the phrases “the economic value,” “any other thing of
                 27       value,” “received in exchange for each Named Plaintiff’s Information,” and “entities” are vague
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  SAN FRANCISCO                                                                            GOOGLE ’S RESPONSES TO PLAINTIFFS ’
                                                                          18                              THIRD SET OF RFPS
                                                                                                   CASE NO. 21-CV-02155-YGR
                         Case 4:21-cv-02155-YGR         Document 291-1          Filed 08/15/22     Page 10 of 22



                     1    and ambiguous because they are not self-evident or defined.
                     2           Google also objects and states that this Request is not the most appropriate vehicle of
                     3    discovery for Plaintiffs to obtain the information requested.
                     4    REQUEST FOR PRODUCTION NO. 51:
                     5           Documents sufficient to establish consideration, monetary or otherwise, Google paid to any
                     6    other entity for Information relating to specific consumers, including but not limited to purchase
                     7    histories in online or traditional settings, including but not limited to banks, credit companies or
                     8    data brokers.
                     9    RESPONSE TO REQUEST FOR PRODUCTION NO. 51:
                 10              In addition to the foregoing General Objections, which Google incorporates by reference,
                 11       Google specifically objects that this Request is overly broad, unduly burdensome, and not
                 12       proportional to the needs of the case because the Request is not limited in scope and encompasses
                 13       materials that have no relation to Plaintiffs’ central allegations regarding the alleged disclosure of
                 14       Plaintiffs’ and purported class members’ personal information to third party participants utilizing
                 15       RTB. Google also objects that this Request is not limited to RTB, but instead purports to encompass
                 16       any consideration Google has paid for any “Information relating to specific consumers.” Google
                 17       further objects that this Request is premature because it seeks information that is not relevant or
                 18       germane to the issues to be litigated at class certification. Google additionally objects that this
                 19       Request is cumulative and duplicative of other Requests, namely, Request for Production No. 34,
                 20       and therefore seeks to harass and delay the proceedings.
                 21              In addition, Google objects that the phrases “establish consideration,” “or otherwise,”
                 22       “Information relating to specific consumers,” “any other entity,” “purchase histories in online or
                 23       traditional settings,” “data brokers,” and “traditional settings” are vague and ambiguous because
                 24       they are not self-evident or defined.
                 25              Google also objects to this Request to the extent that it seeks the disclosure of documents
                 26       containing trade secret or other confidential research, development, or commercially sensitive
                 27       information. Google further objects to this Request to the extent it seeks information protected by
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  SAN FRANCISCO                                                                             GOOGLE ’S RESPONSES TO PLAINTIFFS ’
                                                                           19                              THIRD SET OF RFPS
                                                                                                    CASE NO. 21-CV-02155-YGR
                         Case 4:21-cv-02155-YGR          Document 291-1          Filed 08/15/22     Page 11 of 22



                     1    the attorney-client privilege, the attorney work-product doctrine, or any other applicable privilege
                     2    or protection, including without limitation because it may seek documents prepared by or at the
                     3    direction of legal counsel.
                     4           Subject to the foregoing objections, Google has not conducted and will not conduct searches
                     5    for responsive documents, and, as a result, will not produce documents in response to this Request.
                     6    REQUEST FOR PRODUCTION NO. 52:
                     7           Documents sufficient to establish the value of any data Google received or receives for
                     8    granting access to, sharing or sending Account Holders’ Information or any derivative of that
                     9    Information, including any estimates of value by Google or any third party, including but not
                 10       limited to any venture capitalist, auditor or consultant, as well as the calculation of revenue impact,
                 11       gross or net, arising out of limiting personalization of advertising, whether contextual or behavioral,
                 12       including but not limited to changes arising out of limitation of the use of third party cookies, first
                 13       party cookies, or other identifiers.
                 14       RESPONSE TO REQUEST FOR PRODUCTION NO. 52:
                 15              In addition to the foregoing General Objections, which Google incorporates by reference,
                 16       Google specifically objects that this Request is overly broad, unduly burdensome, and not
                 17       proportional to the needs of the case because the Request is not limited in scope and encompasses
                 18       voluminous materials that have no relation to Plaintiffs’ central allegations regarding the a lleged
                 19       disclosure of Plaintiffs’ and purported class members’ personal information to third party
                 20       participants utilizing RTB. Google further objects to this Request on the basis that it is compound
                 21       and unintelligible. Google also objects that this Request is not limited to RTB. Google further
                 22       objects that this Request is premature because it seeks information that is not relevant or germane
                 23       to the issues to be litigated at class certification. Google also objects to this Request to the extent
                 24       that it seeks the disclosure of documents containing trade secret or other confidential research,
                 25       development, or commercially sensitive information, including without limitation because it may
                 26       seek documents prepared by or at the direction of legal counsel. Google further objects to this
                 27       Request to the extent it seeks information protected by the attorney -client privilege, the attorney
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  SAN FRANCISCO                                                                              GOOGLE ’S RESPONSES TO PLAINTIFFS ’
                                                                            20                              THIRD SET OF RFPS
                                                                                                     CASE NO. 21-CV-02155-YGR
                         Case 4:21-cv-02155-YGR         Document 291-1         Filed 08/15/22     Page 12 of 22



                     1    confidential research, development, or commercially sensitive information. Google further objects
                     2    to this Request to the extent it seeks information protected by the attorney-client privilege, the
                     3    attorney work-product doctrine, or any other applicable privilege or protection, including without
                     4    limitation because it may seek documents prepared by or at the direction of legal counsel. Google
                     5    additionally objects that this Request is cumulative and duplicative of other Requests, namely,
                     6    Request for Production No. 34, and therefore seeks to harass and delay the proceedings.
                     7           In addition, Google objects that the phrases “all costs,” “granting access, sharing or sending
                     8    Account Holders’ Information,” and “derivative” are vague and ambiguous because they are not
                     9    self-evident or defined. Google further objects that Plaintiffs’ definition of “Account Holders’
                 10       Information” makes this Request unduly burdensome and overly broad.
                 11              Subject to the foregoing objections, Google has not conducted and will not conduct searches
                 12       for responsive documents, and, as a result, will not produce documents in response to this Request.
                 13       REQUEST FOR PRODUCTION NO. 54:
                 14              All Documents related to (1) the amount of compensation Google offered consumers who
                 15       signed up for Google “Screenwise Trends,” “Cross Media Panel,” or any other program through
                 16       which Google offered to compensate users for the ability to monitor users’ activity on any device
                 17       used to exchange electronic communications, including web browsing history. As used in this
                 18       request, “compensation” includes cash compensation or cash equivalents including gift cards or
                 19       credits that can be used for the purchase of goods or services; and (2) what a User was required to
                 20       do to qualify for the various levels of compensation offered.
                 21       RESPONSE TO REQUEST FOR PRODUCTION NO. 54:
                 22              In addition to the foregoing General Objections, which Google incorporates by reference,
                 23       Google specifically objects that this Request is overly broad, unduly burdensome, and not
                 24       proportional to the needs of the case because the Request is not limited in scope and encompasses
                 25       voluminous materials that have no relation to Plaintiffs’ central allegations regarding the alleged
                 26       disclosure of Plaintiffs’ and purported class members’ personal information to third party
                 27       participants utilizing RTB, including but not limited to “Google Screenwise Trends” and “Cross
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                                                                          22                              THIRD SET OF RFPS
                                                                                                   CASE NO. 21-CV-02155-YGR
                         Case 4:21-cv-02155-YGR          Document 291-1          Filed 08/15/22      Page 13 of 22



                     1    Media Panel.” Google further objects that this Request for “All Documents” related to the
                     2    referenced subject matter is overbroad. Google also objects to this Request on the basis that it is
                     3    compound. Google also objects that this Request is not limited to RTB. Google further objects
                     4    that this Request is duplicative of other discovery, including Requests for Production Nos. 48 and
                     5    34, and therefore seeks to harass and delay the proceedings.
                     6           In addition, Google objects that the terms “Screenwise Trends,”and “Cross Media Panel,”
                     7    and the phrases “compensate users for the ability to monitor users’ activity ,” “qualify for the various
                     8    levels of compensation” and “cash equivalents including gift cards or credits that can be used for
                     9    the purchase of goods or services” are vague and ambiguous because they are not self -evident or
                 10       defined.
                 11              Google also objects and states that this Request is not the most appropriate vehicle of
                 12       discovery for Plaintiffs to obtain the information requested.
                 13              Subject to the foregoing objections, Google has not conducted and will not conduct searches
                 14       for responsive documents, and, as a result, will not produce documents in response to this Request.
                 15       REQUEST FOR PRODUCTION NO. 55:
                 16              Documents related to surveys performed or commissioned by Google regarding valuation
                 17       of Account Holder information.
                 18       RESPONSE TO REQUEST FOR PRODUCTION NO. 55:
                 19              In addition to the foregoing General Objections, which Google incorporates by reference,
                 20       Google specifically objects that this Request is overly broad, unduly burdensome, and not
                 21       proportional to the needs of the case because the Request is not limited in scope and encompasses
                 22       materials that have no relation to Plaintiffs’ central allegations regarding the alleged disclosure of
                 23       Plaintiffs’ and purported class members’ personal information to third party participants utilizing
                 24       RTB. Google further objects that this Request for documents related to the referenced subject
                 25       matter is overbroad. Google also objects that this Request is not limited to RTB, but instead
                 26       encompasses documents related to any surveys performed or commissioned by Google regarding
                 27       valuation of Account Holder information. Google further objects to this Request to the extent it
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  SAN FRANCISCO                                                                              GOOGLE ’S RESPONSES TO PLAINTIFFS ’
                                                                            23                              THIRD SET OF RFPS
                                                                                                     CASE NO. 21-CV-02155-YGR
                         Case 4:21-cv-02155-YGR          Document 291-1          Filed 08/15/22     Page 14 of 22



                     1    seeks documents protected by the attorney-client privilege or the work product doctrine, or any
                     2    other privilege or immunity. Google also objects to this Request to the extent that it seeks the
                     3    disclosure of documents containing trade secret or other confidential research, development, or
                     4    commercially sensitive information. Google further objects to this Request to the exten t it seeks
                     5    information protected by the attorney-client privilege, the attorney work-product doctrine, or any
                     6    other applicable privilege or protection, including without limitation because it may seek
                     7    documents prepared by or at the direction of legal counsel. Google additionally objects that this
                     8    Request is overbroad and seeks information that is not relevant or proportional to the needs of the
                     9    case, in that it is not limited to formal analyses regarding the referenced subject matter. Google
                 10       additionally objects that this Request is cumulative and duplicative of other Requests, namely,
                 11       Request for Production No. 34, and therefore seeks to harass and delay the proceedings.
                 12              In addition, Google objects that the phrases “surveys performed or commissioned” and
                 13       “valuation of Account Holder information” are vague and ambiguous because they are not self -
                 14       evident or defined. Google further objects that Plaintiffs’ definition of “Account Holders’
                 15       Information,” to the extent Plaintiffs intend for that definition to apply, makes this Request unduly
                 16       burdensome and overly broad.
                 17              Subject to the foregoing objections, Google has not conducted and will not conduct searches
                 18       for responsive documents, and, as a result, will not produce documents in response to this Request.
                 19       REQUEST FOR PRODUCTION NO. 56:
                 20              All Documents provided to Your auditors to support estimates of fair value relating to
                 21       Account Holders’ Information.
                 22       RESPONSE TO REQUEST FOR PRODUCTION NO. 56:
                 23              In addition to the foregoing General Objections, which Google in corporates by reference,
                 24       Google specifically objects that this Request is overly broad, unduly burdensome, and not
                 25       proportional to the needs of the case because the Request is not limited in scope and encompasses
                 26       materials that have no relation to Plaintif fs’ central allegations regarding the alleged disclosure of
                 27       Plaintiffs’ and purported class members’ personal information to third party participants utilizing
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  SAN FRANCISCO                                                                              GOOGLE ’S RESPONSES TO PLAINTIFFS ’
                                                                            24                              THIRD SET OF RFPS
                                                                                                     CASE NO. 21-CV-02155-YGR
                         Case 4:21-cv-02155-YGR         Document 291-1          Filed 08/15/22     Page 15 of 22



                     1    RTB. Google further objects that this Request for “All Documents” regarding the referenced
                     2    subject matter is overbroad. Google also objects that this Request is not limited to RTB. Google
                     3    further objects that this Request is premature because it seeks information that is not relevant or
                     4    germane to the issues to be litigated at class certification. Google also objects to this Request to
                     5    the extent that it seeks the disclosure of documents containing trade secret or other confidential
                     6    research, development, or commercially sensitive information. Google further objects to this
                     7    Request to the extent it seeks information protected by the attorney-client privilege, the attorney
                     8    work-product doctrine, or any other applicable privilege or protection, including without limitation
                     9    because it may seek documents prepared by or at the direction of legal counsel. Google additionally
                 10       objects that this Request is cumulative and duplicative of other Requests, namely, Request for
                 11       Production No. 34, and therefore seeks to harass and delay the proceedings.
                 12              In addition, Google objects that the phrases “Your auditors,” “support estimates of fair
                 13       value” and “value relating to Account Holders’ Information” are vague and ambiguous because
                 14       they are not self-evident or defined. Google further objects that Plaintiffs’ definition of “Account
                 15       Holders’ Information” makes this Request unduly burdensome and overly broad.
                 16              Subject to the foregoing objections, Google has not conducted and will not conduct searches
                 17       for responsive documents, and, as a result, will not produce documents in response to this Request.
                 18       REQUEST FOR PRODUCTION NO. 57:
                 19              All Documents provided to Your auditors to support estimates of fair value relating to
                 20       Account Holders’ Information.
                 21       RESPONSE TO REQUEST FOR PRODUCTION NO. 57:
                 22              In addition to the foregoing General Objections, which Google incorporates by reference,
                 23       Google specifically objects that this Request is overly broad, unduly burdensome, and not
                 24       proportional to the needs of the case because the Request is not limited in scope and encompasses
                 25       materials that have no relation to Plaintiffs’ central allegations regarding the alleged disclosure of
                 26       Plaintiffs’ and purported class members’ personal information to third party participants utilizing
                 27       RTB. Google further objects that this Request for “All Documents” provided to auditors regarding
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  SAN FRANCISCO                                                                             GOOGLE ’S RESPONSES TO PLAINTIFFS ’
                                                                           25                              THIRD SET OF RFPS
                                                                                                    CASE NO. 21-CV-02155-YGR
Case 4:21-cv-02155-YGR   Document 291-1   Filed 08/15/22   Page 16 of 22




REQUESTS FOR PRODUCTION NOS. 34 AND 41


                  (Contested by Google)
                        Case 4:21-cv-02155-YGR          Document 291-1   Filed 08/15/22    Page 17 of 22



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                         GOOGLE LLC
                   10

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                   12

                   13                                   UNITED STATES DISTRICT COURT
                   14                              NORTHERN DISTRICT OF CALIFORNIA
                   15                                        SAN JOSE DIVISION
                   16

                   17    BENJAMIN HEWITT and KIMBERLEY                   Case No. 5:21-cv-02155-LHK
                         WOODRUFF, on behalf of themselves and all
                   18    others similarly situated,                      DEFENDANT GOOGLE LLC’S OBJECTIONS
                                                                         AND RESPONSES TO PLAINTIFF’S FIRST
                   19                     Plaintiffs,                    AND SECOND SETS OF REQUEST FOR
                                                                         PRODUCTION OF DOCUMENTS
                   20           v.

                   21    GOOGLE LLC,

                   22                     Defendant.

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ATTORNEYS AT LAW                                                               GOOGLE’S RESPONSES TO PLAINTIFFS’ FIRST
 SAN FRANCISCO                                                                               AND SECOND SETS OF RFPS
                                                                                          CASE NO. 5:21-CV-02155-LHK
                        Case 4:21-cv-02155-YGR         Document 291-1         Filed 08/15/22     Page 18 of 22



                    1    REQUEST FOR PRODUCTION NO. 34:
                    2           Documents and Communications related to Google’s financial statements, reports,
                    3    analyses, and projections of any revenue and value Google obtains from Google Real Time
                    4    Bidding, including:
                    5           a.      Documents sufficient to identify how Google monetizes the information it collects
                    6                   and sells about Account Holders;
                    7           b.      Documents sufficient to establish the revenues Google earns through Google Real
                    8                   Time Bidding on a weekly, monthly, quarterly and annual basis;
                    9           c.      Documents sufficient to establish the net revenues Google earns through Google
                   10                   Real Time Bidding on a weekly, monthly, quarterly and annual basis;
                   11           d.      Documents related to any pricing structure, policy, or guideline created by Google
                   12                   as it relates to the sale of Account Holder personal information;
                   13           e.      Documents, studies, or other analyses by Google or third parties, including but not
                   14                   limited to academics, economists, accountants, auditors and consultants, relating to
                   15                   how Google earns revenues through Real Time Bidding; and,
                   16           f.      For all Account Holders for whom Google has shared, sold, or disseminated their
                   17                   personal information to other companies through Real Time Bidding, documents
                   18                   sufficient to establish the amount of revenue associated with each Account Holder
                   19                   that Google acquired through the sharing, sale, or dissemination of each Account
                   20                   Holder’s personal information to other companies through Real Time Bidding.
                   21    RESPONSE TO REQUEST FOR PRODUCTION NO. 34:
                   22           In addition to the foregoing General Objections, which Google incorporates by reference,
                   23    Google specifically objects to this Request as overly broad and unduly burdensome to the extent it
                   24    is not limited in scope and encompasses other aspects of RTB that have no relation to Plaintiffs’
                   25    central allegations regarding the alleged disclosure of Plaintiffs’ and purported class members’
                   26    personal information to third party participants utilizing RTB. Google further objects to the extent
                   27    this Request is not limited to RTB. Google also objects to this Request as overly broad and unduly
                   28    burdensome as the phrases “reports,” “analyses,” and “studies” are not limited to formal analyses.
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 SAN FRANCISCO                                                           47                       AND SECOND SETS OF RFPS
                                                                                               CASE NO. 5:21-CV-02155-LHK
                        Case 4:21-cv-02155-YGR         Document 291-1          Filed 08/15/22     Page 19 of 22



                    1    Accordingly, the Request is not proportional to the needs of the case, and the burden of the proposed
                    2    discovery outweighs any likely benefit. Google also objects to this Request to the extent it seeks
                    3    information or documents equally or more readily accessible to Plaintiffs, or not in the possession,
                    4    custody or control of Google. Google further objects to this Request on the basis that it is
                    5    compound. Google also objects to this Request on the basis that it is argumentative. Google further
                    6    objects to this Request to the extent it seeks documents protected by the attorney-client privilege
                    7    or the work product doctrine, or any other privilege or immunity.
                    8           In addition, Google objects that the phrases “value Google obtains,” “revenues Google
                    9    earns through Real Time Bidding,” “pricing structure,” “policy,” “guideline,” “consultant,”
                   10    “disseminated,” and “acquired through the sharing” are vague and ambiguous as none are self-
                   11    evident or defined.
                   12           Subject to the foregoing objections, Google will conduct a reasonable search and produce
                   13    responsive, non-privileged, documents sufficient to show the monetary value, if any, of the alleged
                   14    conduct.
                   15    REQUEST FOR PRODUCTION NO. 35:
                   16           Documents and Communications related to Google’s market share in digital advertising,
                   17    including documents addressing or discussing Google’s or a third-party’s estimates of Google’s
                   18    market share, and how much of that is derived from Real Time Bidding.
                   19    RESPONSE TO REQUEST FOR PRODUCTION NO. 35:
                   20           In addition to the foregoing General Objections, which Google incorporates by reference,
                   21    Google specifically objects to this Request as overly broad and unduly burdensome to the extent it
                   22    is not limited in scope and encompasses other aspects of RTB that have no relation to Plaintiffs’
                   23    central allegations regarding the alleged disclosure of Plaintiffs’ and purported class members’
                   24    personal information to third party participants utilizing RTB. Google further objects to the extent
                   25    this Request is not limited to RTB, including “Google’s market share in digital advertising.”
                   26    Google also objects to this Request to the extent it seeks information or documents equally or more
                   27    readily accessible to Plaintiffs, or not in the possession, custody or control of Google. Accordingly,
                   28    the Request is not proportional to the needs of the case, and the burden of the proposed discovery
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ATTORNEYS AT LAW                                                                      GOOGLE’S RESPONSES TO PLAINTIFFS’ FIRST
 SAN FRANCISCO                                                            48                        AND SECOND SETS OF RFPS
                                                                                                 CASE NO. 5:21-CV-02155-LHK
                        Case 4:21-cv-02155-YGR           Document 291-1          Filed 08/15/22     Page 20 of 22



                    1    benefit. Google also objects to this Request to the extent it is duplicative of other requests. Google
                    2    further objects to this Request on the basis that it is unintelligible.
                    3            In addition, Google objects that the phrases “technical processes, timing, directions,
                    4    commands, and flow,” “re-directed,” “participants in an Internet communications on web-property
                    5    through which an advertisement is served” are vague and ambiguous as none are self-evident or
                    6    defined.
                    7            Subject to the foregoing objections, Google will conduct a reasonable search and produce
                    8    responsive, non-privileged documents sufficient to show the technical processes, timing, directions,
                    9    commands, or flow, if any, regarding the alleged disclosure of Google Account Holder data to third
                   10    party participants utilizing RTB.
                   11    REQUEST FOR PRODUCTION NO. 41:
                   12            For all Account Holders for whom Google has shared sold, or disseminated their personal
                   13    information to other persons or entities through Real Time Bidding, including for Account Holders
                   14    for whom Google has shared, sold or disseminated their personal information through a VTSP
                   15    property, those using the Chrome web-browser, and those using a Android operating system:
                   16            a.      Documents sufficient to establish the amount of revenue associated with each
                   17                    Account Holder;
                   18            b.      All Bid Requests associated with each Account Holder;
                   19            c.      All bid responses associated with each Account Holder;
                   20            d.      All winning bids and the identity of the winning bidder associated with each
                   21                    Account Holder;
                   22            e.      The value paid for each Bid Request associated with each Account Holder;
                   23            f.      The resulting ad(s) that was displayed to each Account Holder; and,
                   24            g.      The contents of each Bid Request disclosure about each Account Holder that Google
                   25                    made to other companies.
                   26    RESPONSE TO REQUEST FOR PRODUCTION NO. 41:
                   27            In addition to the foregoing General Objections, which Google incorporates by reference,
                   28    Google specifically objects to this Request as overly broad and unduly burdensome to the extent it
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 SAN FRANCISCO                                                              53                        AND SECOND SETS OF RFPS
                                                                                                   CASE NO. 5:21-CV-02155-LHK
                        Case 4:21-cv-02155-YGR          Document 291-1           Filed 08/15/22     Page 21 of 22



                    1    is not limited in scope and encompasses other aspects of RTB that have no relation to Plaintiffs’
                    2    central allegations regarding the alleged disclosure of Plaintiffs’ and purported class members’
                    3    personal information to third party participants utilizing RTB. Accordingly, the Request is not
                    4    proportional to the needs of the case, and the burden of the proposed discovery outweighs any likely
                    5    benefit. Google further objects to this Request because it is argumentative, and to the extent it calls
                    6    for a legal conclusion with respect to the meaning of “Video Tape Service Providers.” Google also
                    7    objects to this Request to the extent it is not limited to the named Plaintiffs and, instead, seeks
                    8    information and documents relating to individual putative class members when no class has been
                    9    certified. Google further objects to this Request to the extent it seeks documents protected by the
                   10    right of privacy under the California Constitution, Article I, Section 1. At this stage of the
                   11    proceedings, the privacy rights of non-party putative class members and the undue burden imposed
                   12    on Google outweigh Plaintiffs’ purported need for the requested information. See Nevarez v. Forty
                   13    Niners Football Co., LLC, No. 16CV07013-LHK-SVK, 2018 WL 306681, at *2 (N.D. Cal. Jan. 5,
                   14    2018) (holding that when a party seeks pre-certification discovery that may implicate the privacy
                   15    concerns of putative class members, “a court ‘must balance the party’s need for the information
                   16    against the individual’s privacy right . . .’”) (internal citation omitted). Moreover, Plaintiffs are not
                   17    entitled to discovery to obtain the identity of putative class members prior to class certification
                   18    unless it is relevant to issues of class certification. See Knutson v. Schwan’s Home Serv., Inc., No.
                   19    3:12-cv-0964-GPC-DHB, 2013 WL 3746118, at *4 (S.D. Cal. July 15, 2013) (citing Oppenheimer
                   20    Fund, Inc. v. Sanders, 437 U.S. 340, 354 (1978)) ((“[T]he dispositive issue was not whether the
                   21    sought after lists contained the names and addresses of class members, but whether that list bore
                   22    any relevance to appropriate questions of law” related to class certification). Google further objects
                   23    to this Request on the basis that it is compound. Google also objects to this Request to the extent
                   24    it is duplicative of other requests—namely Request for Production No. 22. Google further objects
                   25    to this Request to the extent it seeks documents protected by the attorney-client privilege or the
                   26    work product doctrine, or any other privilege or immunity.
                   27

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 SAN FRANCISCO                                                              54                       AND SECOND SETS OF RFPS
                                                                                                  CASE NO. 5:21-CV-02155-LHK
                        Case 4:21-cv-02155-YGR          Document 291-1          Filed 08/15/22      Page 22 of 22



                    1           In addition, Google objects that the phrases “other persons or entities,” “amount of revenue
                    2    associated with each Account Holder,” “value paid,” and “Bid Request disclosure” are vague and
                    3    ambiguous as none are self-evident or defined.
                    4           Subject to the foregoing objections, Google responds that, to the best of its current
                    5    knowledge, no information it possesses by virtue of any person having a Google Account was
                    6    shared with any third-party participant utilizing RTB. Moreover, this appears to be a request for
                    7    comprehensive RTB transaction data that would be literally impossible to gather and produce.
                    8    Google accordingly has not conducted and will not conduct searches for responsive documents,
                    9    and, as a result, will not produce documents in response to this Request.
                   10    REQUEST FOR PRODUCTION NO. 42:
                   11           All Information Google has collected, created associated and derived, and continues to
                   12    collect, create, associate and derive, regarding Plaintiffs, including but not limited to: authenticated
                   13    and unauthenticated personal identifiers and device, browser, and other identifiers (including IP
                   14    address) associated with Plaintiffs and their devices; data associated with those identifiers,
                   15    including browsing history, ad history, communications history, Google account sign-in history,
                   16    Chrome Sync history; derived data; appended data; associated verticals and segments; embedded
                   17    data; all data contained in user profiles, interest profiles, interest graphs; and, authenticated and
                   18    unauthenticated data (this request will be supplemented with any currently known identifiers upon
                   19    entry of a protective order governing the exchange of discovery).
                   20    RESPONSE TO REQUEST FOR PRODUCTION NO. 42:
                   21           In addition to the foregoing General Objections, which Google incorporates by reference,
                   22    Google specifically objects to this Request as overly broad and unduly burdensome to the extent it
                   23    is not limited in scope and encompasses other aspects of RTB that have no relation to Plaintiffs’
                   24    central allegations regarding the alleged disclosure of Plaintiffs’ and purported class members’
                   25    personal information to third party participants utilizing RTB, including but not limited to “Google
                   26    account sign-in history” and “Chrome sync history.” Google also objects to the extent this Request
                   27    is not limited to RTB. Accordingly, the Request is not proportional to the needs of the case, and
                   28    the burden of the proposed discovery outweighs any likely benefit. Google further objects to this
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 SAN FRANCISCO                                                             55                        AND SECOND SETS OF RFPS
                                                                                                  CASE NO. 5:21-CV-02155-LHK
